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UNITED STATES DISTIRCT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

 

VIRGINIA L. GIUFFRE, *
Plaintiff, Civ Action No.: 1:19-cv-03377
- against - [PROPOSED] ORDER
ALAN DERSHOWITZ,
Defendant.
x

 

[PROPOSED] ORDER GRANTING MOTION TO DISQUALIFY

Upon consideration of the parties’ respective papers and arguments, Defendant’s Motion to

Disqualify the law firm of Boies Schiller Flexner LLP is hereby GRANTED in its entirety. Plaintiff

has days to secure alternate counsel.
SO ORDERED.
Dated: This day of

, 2019

 

Loretta A. Preska
United States District Judge
